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                              UNITED STATES DISTRICT COURT                               JS-6
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

 Case No.      CV 19-2850-DMG (JCx)                                          Date    July 18, 2019

 Title Texkhan, Inc. v. En Crème, et al.                                                     Page     1 of 1


 Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               KANE TIEN                                                     NOT REPORTED
               Deputy Clerk                                                   Court Reporter

     Attorneys Present for Plaintiff(s)                             Attorneys Present for Defendant(s)
              None Present                                                    None Present

Proceedings: (IN CHAMBERS) ORDER AND NOTICE TO ALL PARTIES

         In light of Plaintiff’s notice of settlement, indicating that the case has settled in its entirety,
this action is placed in inactive status. [Doc. # 16] By August 26, 2019, the parties shall file either
(1) a stipulation and proposed order for dismissal of the action or judgment, or (2) a motion to
reopen if settlement has not been consummated. Upon the failure to timely comply with this Order,
this action shall be deemed dismissed as of August 27, 2019.

        This Court retains full jurisdiction over this action and this Order shall not prejudice any
party to this action.

IT IS SO ORDERED.




 CV-90                                CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
